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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED ST A TES OF AMERICA, ex rel.            CIVIL ACTION NO.
SARAH BEHNKE,
                                                         14         0824
                           Plaintiffs,
                                               QUI TAM COMPLAINT
                  v.
                                               JURY TRIAL DEMANDED
CVS CAREMARK CORPORATION,
CVS CAREMARK Rx, LLC (f/k/a CAREMARK           FILED IN CAMERA AND UNDER
Rx, INC.), CAREMARKPCS HEALTH LLC, and         SEAL PURSUANT TO 31 U.S.C.
SILVERSCRIPT INSURANCE COMPANY,                § 3730(b)(2)

                           Defendants.
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I.         INTRODUCTION

           Qui Tam Plaintiff/Relator Sarah Behnke, through her counsel, Berger & Montague, P.C.,

on behalf of the United States of America, brings her Complaint against Defendants CVS

Caremark Corporation, Caremark Rx, LLC (f/k/a Caremark Rx, Inc.), CaremarkPCS Health

LLC, and SilverScript Insurance Company, and alleges based upon her own direct and

independent knowledge and investigation, except where specifically stated upon information and

belief:

           1.    This is an action to recover damages and civil penalties on behalf of the United

States of America, arising from false and/or fraudulent records, statements and claims made or

caused to be made or presented by CVS Caremark Corporation, Caremark Rx, LLC (f/k/a

Caremark Rx, Inc.), CaremarkPCS Health LLC (collectively referred to as "Caremark" or the

"Caremark defendants"), and SilverScript Insurance Company ("SilverScript"), and/or their

agents, predecessors, successors, and employees in violation of the Federal False Claims Act, 31

U.S.C. § 3729 et seq., as amended ("the FCA" or "the Act"). Caremark and SilverScript are

collectively referred to as "Defendants". References in this complaint to Caremark include CVS

Caremark Corporation and its subsidiaries and affiliates to the extent they are involved in the

conduct.

          2.     The Caremark defendants, in their capacity as a Pharmacy Benefits Manager

("PBM") for several Medicare Part D Sponsors, including their affiliate SilverScript,

intentionally, systematically, and recklessly caused the submission of false or fraudulent

Medicare Part D actual drug costs, negotiated drug prices, and prescription drug event ("PDE")

data to the Centers for Medicare and Medicaid Services ("CMS") since at least 2007.

          3.     Defendant SilverScript intentionally, systematically and recklessly submitted false

and fraudulent PDE data reports to CMS.

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        4.      In addition to the false and fraudulent claims, prices and statements by

 SilverScript, the Caremark defendants caused non-party Aetna, Inc. or its affiliates (hereafter

 referred to as "Aetna") to make or present false claims and statements to CMS. Pursuant to a

 multi-year contract, Caremark is the PBM for Aetna's Medicare Part D business, as well as for

Aetna' s commercial lines of business.

        5.     As a direct result of Defendants' fraudulent, improper and illegal practices,

Federal health insurance programs including, but not limited to, Medicare Part D, have been

caused and continue to:

                   a) pay increased subsidies to Aetna's Medicare Part D Plans and the

                        SilverScript Medicare Part D Plan through direct advance monthly

                        payments; reinsurance subsidies; low-income cost-sharing subsidies (or

                        grants for low-income Part D individuals received in lieu of low-income

                        subsidies);   risk-sharing   arrangements;   and   year-end    retroactive

                        adjustments and reconciliations; and

                   b)   enter into contracts with the Defendants as providers of Part D services,

                        whether as a Sponsor or PBM, including agreements that are necessary for

                        Part D providers to submit claims or data to CMS and/or to receive

                        payments related to the Medicare Part D program.

       6.      As a direct and foreseeable result of the Defendants' improper and fraudulent

practices, federal and state health insurance programs, including but not limited to, Medicare and

Medicaid, have been impacted by Defendants' submission of false prices by vi1tue of the states'

contributions to low-income cost subsidies.




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        7.      Plaintiff seeks to recover damages and penalties on behalf of the United States

 arising from Defendants' making or causing to be made false or fraudulent records, statements

and/or claims in connection with their knowing violations of the Medicare Part D Program

reporting, reconciliation and claims submissions requirements.

II.     THE PARTIES

        A.      Relator/Plaintiff

        8.      Plaintiff/Relator Sarah Behnke is a resident of the State of Kentucky and a citizen

of the United States.

        9.      Relator Behnke is a graduate of the University of California at Berkeley, with a

B.A. in applied mathematics. She is a Fellow of the Society of Actuaries (FSA), a professional

designation that is achieved only after the successful completion of more than ten rigorous

examinations. Ms. Behnke is also a member of the American Academy of Actuaries (MAAA).

Ms. Behnke has worked for three major Part D plan sponsors, including Humana, in the area of

Medicare Part D Plan pricing and reimbursement since the program became effective in 2006.

She is currently Senior Actuary/Head Actuary Medicare Part D for Aetna, Inc.          Relator has

extensive experience with drug pricing for Part D Plans, analysis of pharmacy data, risk sharing

agreements, Direct and Indirect Remuneration Reporting ("DIR") and Part D regulations relating

to low income subsidies, risk sharing, reinsurance and Part D bids. She is uniquely qualified to

bring this action on behalf of the United States.

       B.      Defendants

               1.       CVS Caremark Corporation

       l 0.    Defendant CVS        Caremark    Corporation (hereafter    "CVS    Caremark")    1s


incorporated under the laws of the State of Delaware, and headquartered at One CVS Drive,

Woonsocket, Rhode Island 02895.

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        11.     CVS Caremark Rx, LLC is a subsidiary of CVS Caremark.

        12.     CVS Caremark has reported to the public that since at least 2007, it and its

subsidiaries have been the largest provider of prescription and related healthcare services in the

United States, having filled or managed more than one billion prescriptions since that time.

        13.     In its pharmacy services business, CVS Caremark offers a full range of pharmacy

benefit management ("PBM") services.          The PBM business generates revenues for CVS

Caremark from the performance of services for which it receives certain fees.        These PBM

services include mail order pharmacy services, specialty pharmacy services, plan design,

administration, pharmacy network contracting, and claims processing. CVS Caremark has 26%

of the PBM market in the United States.              The CVS Caremark PBM business serves

approximately 3,150,000 Medicare members.

               2.      CVS Caremark Entities Participating in Medicare Part D
                       Program

        14.    Currently, CVS Caremark participates in the Medicare Part D prescription drug

program in several significant ways. Since 2006, CVS Caremark has provided Part D PBM

services to CVS Caremark's clients' Part D programs through several subsidiaries including:

Caremark LLC; CaremarkPCS Health, LLC; CVS Caremark Part D Services, LLC (formerly

known as SilverScript Inc.); and Caremark RxAmerica, LLC.

       15.     Since 2006, CVS Caremark has served as a Medicare Prescription Drug Plan

("PDP") Sponsor that contracts with Medicare to provide prescription drug benefits in all 50

states, the District of Columbia, and Puerto Rico.

       16.     The Defendants participate m the Federal Government's Medicare Part D

Program as prescription drug plans (PDP) or as pharmacy benefit managers (PBM).                CVS




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 Caremark's net revenue includes both Part D Payments received from CMS as well as payments

 received from Part D Sponsors related to CVS Caremark's subsidiaries' Part D PBM Services.

        17.     In addition, CVS Caremark operates thousands of retail pharmacies under the

 names CVS or Longs Drug Store, as well as mail order and specialty pharmacies that process

Part D prescriptions and dispense Part D drugs to Medicare beneficiaries, including to

beneficiaries enrolled in Aetna's and Caremark's own Part D programs.

        18.     SilverScript Insurance Company ("SilverScript"), is a corporation organized

under the laws of Tennessee. It is a subsidiary of CVS Caremark.

        19.     SilverScript is a Medicare Part D Sponsor that since 2006 has contracted with

Medicare and has provided Medicare Part D benefits under prescription drug plans in all 50

states, the District of Columbia, and Puerto Rico.

               3.      Defendant CVS Caremark's PBM Subsidiaries

        20.    Defendant Caremark Rx, LLC (f/k/a Caremark Rx, Inc.) (hereafter "Caremark

Rx") 1s one of the largest pharmaceutical services companies in the United States.             It is

incorporated under the laws of the State of Delaware, with its principal executive offices located

in Woonsocket, Rhode Island. Caremark Rx is the parent of CVS Caremark's pharmacy services

subsidiaries that provide pharmacy benefit management services.

       21.     Caremark Rx's pharmaceutical services are referred to as pharmacy benefit

management services, and include the provision of drug benefits to eligible beneficiaries under

the Federal Government's Medicare Part D Program.

       22.     CaremarkPCSHealth LLC ("CaremarkPCS Health") is a subsidiary of Caremark

Rx. CaremarkPCS Health is a PBM (pharmacy benefit manager) and provides PBM services to

its clients that have qualified as Medicare Part D Prescription Drug Plans, including Aetna.



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        23.     CVS Caremark participates in the administration of the Medicare Part D Drng

Benefit through Caremark Rx. Caremark Rx's PBM services are provided to its health plan

clients and other clients that have qualified as PDPs.

        24.    Prescriptions managed by the Caremark defendants for Part D plan sponsors,

whether filled at one of CVS Caremark's own mail service pharmacies or through its retail

pharmacy network, are processed and documented by the Caremark defendants.

III.    JURISDICTION AND VENUE

        25.    This Court has jurisdiction over the subject matter of this action pursuant to

28 U.S.C. § 1331, 28 U.S.C. § 1367, and 31 U.S.C. § 3732.

       26.     This Court has personal jurisdiction and venue over Defendants pursuant to

28 U.S.C. § 1391(b) and U.S.C. § 3732(a) because that section authorizes nationwide service of

process and because the Defendants have minimum contacts with the United States. Moreover,

the Defendants can be found in, and reside and transact business in, this District.

       27.     Venue is also proper in this District pursuant to U.S.C. § 373 l(a) because CVS

Caremark Corporation, Caremark Rx, LLC (f/k/a Caremark Rx, Inc.), CaremarkPCS Health

LLC, and SilverScript Insurance Company can be found in, and conduct business in this District.

IV.    THE MEDICARE PART D PROGRAM

       A.      Prescription Drug Coverage

       28.     The Medicare Part D Program provides beneficiaries with assistance in paying for

outpatient prescription drugs. The outpatient prescription drug benefit was added to Medicare by

the Medicare Prescription Drug, Improvement, and Modernization Act of 2003 ("MMA"),

Pub. L. 108-173 (Dec. 8, 2003), 42 U.S.C. § 1395w-101 et seq. (2004 supplement), 42 C.F.R.

§ 423.506.



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        29.     An individual is eligible to enroll in part D if he or she is entitled to Medicare

benefits under Part A or enrolled under Part B, 42 U.S.C. § 1395w-101(a)(3)(A); 42 C.F.R.

§ 423.30(a).

        B.      Operation of the Medicare Part D System

                1.     Part D Plan Sponsor

        30.    Unlike coverage in Medicare Parts A and B, Part 0 coverage is not provided

within the traditional Medicare program. Instead, the MMA established Part 0 as a voluntary,

private-market-based program that was based on private plans providing coverage and bearing

some of the financial risk for drug costs. Medicare beneficiaries must affirmatively enroll in one

of the many hundreds of Part D Plans offered by private companies. See MMA, Sections 1102,

18600-1 through 18600-42, and 1871 of the Social Security Act; 42 U.S.C. §§ 1302, 1395w-

101 through 1395w-152, and 1395hh.

       31.     Part 0 benefits are provided by either a Part 0 Plan Sponsor, a Medicare

Advantage organization that offers a Medicare Advantage-Part 0 plan, a PACE organization

offering a PACE plan including qualified drug coverage or a cost plan offering qualified

prescription drug coverage that has entered into a contract with Medicare. Part 0 Plan Sponsors

offer a prescription drug plan ("PDP"). 42 C.F.R. § 423.4. References in this Complaint to "Part

0 business" include all of these types of plans or coverages.

       32.     "Prescription drug plan" or "PDP" means "prescription drug coverage that is

offered under a policy, contract, or plan that has been approved as specified in [42 C.F.R.]

§ 423.272 and that is offered by a PDP sponsor that has a contract with CMS that meets the

contract requirements under subpart K of [Part 423]." 42 C.F.R. § 423.4.

       33.     Aetna Life Insurance Company is a Part D Plan Sponsor that offers Part 0 plans

through various affiliates, including Aetna Health Management LLC. A Part D Plan Sponsor

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 agrees to comply with the requirements and standards of Part D and all the terms and conditions

of payment. Section 18600-12, 42 U.S.C. § 423.503(b). Aetna as the Part D Plan Sponsor also

expressly agrees to provide CMS with the information CMS determines is necessary to carry out

payment provisions. 42 C.F.R. § 423.505(b)(8) and (9).

        34.      A Part D Plan Sponsor, in contracting with CMS, also expressly "agrees to

comply with Federal laws and regulations designed to prevent fraud, waste, and abuse, including

but not limited to, applicable provisions of Federal criminal law [and] the False Claims Act

(31 U.S.C. §§ 3729 et seq.)." 42 C.F.R. § 423.505(h)(l).

        35.      In order to receive Part D funds from CMS, Part D Sponsors, their authorized

agents, employees and contractors are required to comply with all applicable Federal laws and

regulations, as well as CMS instructions. 42 U.S.C. § 1860D-12(b)(l); 42 C.F.R. § 505(i)(4)(v).

       36.      To qualify for Part D payments from CMS, before each plan year, a Part D

Sponsor must submit a bid, certified by an actuary, for each Part D Plan it will offer. 42 C.F.R.

~ 423.265.    The bid contains a per member per month ("PMPM") cost estimate to provide Part D

benefits to an average Medicare beneficiary in a particular geographic area. From those Part D

Plan bids, CMS calculates nationwide and regional benchmarks that represent an average PMPM

cost. The bid is used to set the premium for a Part D Plan. If the Part D Plan Sponsor's bid

exceeds the benchmark, the Plan Member must pay the difference.

       37.      Each Part D sponsor receives a direct subsidy from CMS in the form of advance

monthly payments equal to the Part D plan's standardized bid, which is risk-adjusted for health

status, minus the monthly beneficiary premium, estimated reinsurance subsidies for catastrophic

coverage, and estimated low-income subsidies. 42 C.F.R. §§ 423.315, 423.329.




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        38.      In the year following each benefit year, CMS reconciles a PDP Sponsor's actual

prescription drug costs as derived from its PDE records against the Sponsor's bid.

        39.      If a PDP Sponsor's actual costs exceed the estimated costs, it may be able to

recoup some of its losses through a risk-sharing arrangement with CMS. Conversely, if a Part D

Plan Sponsor's estimated costs exceed its actual costs, the Sponsor may have to pay back some

of its estimated payments to CMS.

        40.      Sections 1860D-15(c)(l)(C) and (d)(2) of the MMA require Sponsors to submit

data and information necessary for CMS to carry out payment provisions. For every prescription

filled, the Sponsor prepares and submits a Prescription Drug Event (PDE) record to CMS

(described in detail in section IV.B.5).

        41.     Accordingly, all contracts between Part D Sponsors and CMS contain the

following term: the Part D Sponsor must agree to "provide CMS with the information CMS

determines is necessary to carry out payment provisions in subpart G of this Part." 42 C.F.R.

§ 423 .505(b )(9).

        42.     The PDE record contains prescription drug cost and payment data that enables

CMS to make payments to PDPs and otherwise administer the Part D benefit.

        43.     The Part D Sponsor is required to make several significant and material express

certifications to CMS regarding its submission of Part D data used for payment, as described

below (section IV.B.6).

                2.     Part D Process - Adjudicating Claims for Beneficiaries

       44.      Most Medicare beneficiaries who elect Part D coverage are responsible for certain

costs, which may include a monthly premium, an annual deductible, and/or co-pays. Once a

beneficiary's drug costs have reached a designated threshold, the beneficiary pays the entire drug

cost until a higher, catastrophic level amount is reached, at which point CMS picks up the bulk

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    of the payments. The phase in which the beneficiary pays his or her own costs is referred to as

    the coverage gap or, more colloquially, the donut hole.

           45.     After receiving a prescription from his or her doctor, a Plan beneficiary must get

    the prescription filled, often by going to a retail pharmacy and presenting the prescription to the

    pharmacist (or by submitting a prescription to a mail order pharmacy).

           46.     The pharmacy receives the prescription and participant's information, and then
                                                                                                   1
    submits required data elements to the Plan Sponsor or its Pharmacy Benefits Manager to

confirm Medicare Part D enrollment and identify co-pays. This typically takes place via real-

time data transmissions between the pharmacy and the PBM.

           47.    If the claim for the prescription is not rejected, the pharmacy receives payment

authorization and co-pay information and dispenses the prescription to the Part D beneficiary.

The beneficiary pays the co-pay to the pharmacy and receives the prescription. At the time of

the initial data submission, the pharmacy transmits certain data elements specified by contract

between the pharmacy and the PBM. These data elements include, among other things, the

beneficiary information and drug information.

          48.     Once the PBM receives that data from the pharmacy, it submits the claim data to

CMS, either directly or through the Plan Sponsor, via a Prescription Drug Event ("PDE") record

that includes the drug price.

          49.     The Plan Sponsor is required to also submit other data to CMS, i.e., bid

submission data, costs for risk corridor and reinsurance information, and data for pnce

comparison. See, e.g., CMS Updated Instructions: Requirements for Submitting Prescription




1
     References hereafter will assume that the Plan Sponsor utilizes a PBM.

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 Drug          Event     Data       (PDE),       http://www.cms.hhs.gov/DrugCoverageClaimsData/

 RxDrugEventDataGuidance.asp#TopOfPage, April 27, 2006; 42 C.F.R. § 423.505(k).

         50.      Part D Sponsors are also required to submit other information to CMS regarding

 costs of providing Part D coverage, i.e., administrative costs, rebates, and other information.

                  3.     CMS Part D Payments

        51.       During each benefit year, CMS pays a PDP Sponsor, such as Aetna, estimated

 payments, in advance, on a monthly basis. These direct subsidy payments are equal to Aetna's

standardized bid adjusted for health status minus the monthly beneficiary premium, estimated

reinsurance subsidies for catastrophic coverage, and estimated low income subsidies. 42 C.F.R.

§§ 423.315, 423.329.

        52.      CMS's payments of premiums and cost sharing subsidies on behalf of certain low

income individuals eligible for subsidies as provided for in 42 C.F.R. § 423.780 and § 423.782

are called Low Income Cost Sharing Subsidies ( "LICS").

        53.      CMS's payment for the Government's share of drug costs for beneficiaries who

have reached catastrophic coverage is called the reinsurance subsidy.

        54.      As an express condition of payment by CMS, 42 U.S.C. § 1395w-115d(2)(A),

Subsidies for Part D Eligible Individuals for Qualified Prescription Drug Coverage, provides that

payments to a PDP sponsor are conditioned upon the furnishing, in a form and manner specified

by the Secretary of the Department of Health and Human Services, any such information as may

be required to carry out the provisions of that section, including those for the calculation of

reinsurance and risk sharing. See also, DIR Reporting Requirements.

        55.      Thus, CMS payments to a Part D Sponsor are expressly conditioned upon the

Sponsor providing "information to CMS that is necessary to carry out this subpart, or as required

by law." 42 C.F.R. § 423.322(a).

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           56.     Beginning in at least 2010, among other things, PDP Sponsors were required to

report to CMS the aggregate amount and type of rebates, discounts, or price concessions,

excluding bona fide service fees that the PBM negotiates that are attributable to patient

utilization; the aggregate amount of the rebates, discounts or price concessions that are passed

through to the Plan Sponsor; and the aggregate amount of the difference between the amount the

health benefits plan pays to the PBM and the amount the PBM pays retail pharmacies, 42 U.S.C.

§§ 1320b-23(b).

                   4.    CMS's Payments Are Required to Be Based on the Actual Cost
                         of a Drug, Meaning the Drug Price Ultimately Received by the
                         Pharmacy

           57.     Negotiated prices are the payment amounts pharmacies receive from Part D Plan

Sponsors (directly or indirectly through a PBM) for covered Part D drugs dispensed to plan

enrollees. CMS' payments to Part D Plans are based on the reporting of "negotiated prices"

(through PDE reporting) that are actually paid and are then offset by any other price concessions

(which are reported in the aggregate through the separate annual DIR reporting process).

           58.    CMS' regulations dictate how to report the total cost of a drug on the PDE record.

For a covered drug, this cost is referred to as "gross covered drug cost." On the PDE record,

there are detail cost fields and summary cost fields that report the gross drug cost. These fields

distinguish the cost of the drug itself from any dispensing fee or applicable sales tax and they

identify         drug    costs     that     are        eligible   for     reinsurance     payment.

http://www.csscoperations.com/internet/Cssc.nsf/files/PDEParticipantGuide%20cameraready%2

008181 l .pdf/$Flle/PDEParticipantGuide%20cameraready%2008181 l.pdf

       59.        Under 42 CFR § 423.308, " 'Gross covered prescription drug costs' mean those

actually paid costs incurred under a Part D plan, excluding administrative costs, but including



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    dispensing fees, during the coverage year." They linclude] the following: (l) The share of actual

    costs (as defined by§ 423.100 of this part).

           60.     Under 42 C.F.R. § 423.100, "actual cost" is defined in relevant part as the

    negotiated price for a Part D drug when the drug is purchased at a network pharmacy.

           61.     Effective for plan year 2010, the definition of negotiated price for covered Part D

drugs means prices "that the Part D Sponsor (or other intermediary contracting organization) and

the network dispensing pharmacy or other network dispensing provider have negotiated as the

amount such network entity [pharmacy] will receive, in total, for a particular drug." 42 C.F.R.

§ 423.100.

           62.    Prior to 2010, the definition of negotiated prices had been "prices for covered

Part D drugs that are available to beneficiaries at the point of sale at network pharmacies."

Because this allowed PDPs or PBMs to include in their reported prices the difference between

what a PBM paid a pharmacy for a particular drug and the higher amount paid by a Plan Sponsor

                                                   2
to the PBM under "lock-in price" contracts,            the definition was changed in 2009, effective

January I, 2010.       CMS required that the difference in price between what a PBM paid the

pharmacy and what the Plan Sponsor paid the PBM be considered and excluded as an

administrative expense, not a component of drug ingredient cost. 74 Federal Register 1494 at

1505 (Jan. 12, 2009). PB Ms can still have lock-in price contracts with Plan Sponsors, but the

actual pass-through drug prices have to be reported to CMS. Id. at 1508.

          63.     It was the intention of Congress to exclude risk sharing on administrative

expenses. As noted by CMS when the definition of negotiated price in 42 C.F.R. § 423 .100 was


2
   CMS-4131-FC: The lock-in pricing approach is a contract method by which the Sponsor
agrees to pay the PBM a set rate for a particular drug and the PBM negotiates with pharmacies to
achieve the best possible price, which may vary from the rate paid to the PBM.

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amended, Part D Sponsors are required to report to CMS "the price ultimately received by the

pharmacy or other dispensing provider, also known as the pass-through price." The negotiated

or pass through price does "not include any of the administrative fees paid by Part D sponsors to

their intermediary contracting organization" or PBM. 74 Fed. Reg. 1494 at 1505 (Jan. 12, 2009).

       64.       As described above, CMS pays Plans for Part D benefits through subsidies and

risk sharing, including the "Low-Income Cost Sharing Subsidies" and catastrophic reinsurance

payments. These CMS payments are documented and reconciled using PDE data submitted to

CMS. CMS "Updated Instructions: Requirements for Submitting Prescription Drug Event Data

(PDE)," 4.27.2006, page 41, Section 10.1.

       65.       CMS is required by statute to calculate the reinsurance and risk-sharing payments,

"allowable reinsurance costs" and "allowable risk corridor costs," on the basis of costs which

have been "actually paid," CMS Final Medicare Part D DIR Reporting Requirement for 2012 at

p. 5 (June 7, 2013) ("DIR Reporting").

       66.       "Actually paid" is defined as:

             Actually paid means that the costs must be actually incurred by the Part D
             sponsor and must be net of any direct or indirect remuneration (including
             discounts, charge backs or rebates, cash discounts, free goods contingent
             on a purchase agreement, up-front payments, coupons, goods in kind, free
             or reduced-price services, grants, or other price concessions or similar
             benefits offered to some or all purchasers) from any source (including
             manufacturers, pharmacies, enrollees, or any other person) that would
             serve to decrease the costs incurred under the Part D plan. Direct and
             indirect remuneration includes discounts, chargebacks or rebates, cash
             discounts, free goods contingent on a purchase agreement, up-front
             payments, coupons, goods in kind, free or reduced-price services, grants,
             or other price concessions or similar benefits from manufacturers,
             pharmacies or similar entities obtained by an intermediary contracting
             organization with which the Part D plan sponsor has contracted, regardless
             of whether the intermediary contracting organization retains all or a
             portion of the direct and indirect remuneration or passes the entire direct
             and indirect remuneration to the Part D plan sponsor and regardless of the



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              terms of the contract between the plan sponsor and the intermediary
              contracting organization.

42 C.F.R. § 423.308.

       67.       "Allowable reinsurance costs" are defined as:

             Allowable reinsurance costs means the subset of gross covered
             prescription drug costs actually paid that are attributable to basic
             prescription drug coverage for covered Part D drugs only and that are
             actually paid by the Part D sponsor or by (or on behalf of) an enrollee
             under the Part D plan. The costs for any Part D plan offering enhanced
             alternative coverage must be adjusted not only to exclude any costs
             attributable to benefits beyond basic prescription drug coverage, but also
             to exclude any costs determined to be attributable to increased utilization
             over the standard prescription drug coverage as the result of the insurance
             effect of enhanced alternative coverage in accordance with CMS
             guidelines on actuarial valuation.

42 C.F.R. § 423.308.

       68.       "Allowable risk corridor costs" means:

             (1) The subset of costs incurred under a Part D plan (not including
             administrative costs, but including dispensing fees) that are attributable to
             basic prescription drug coverage only and that are incurred and actually
             paid by the Part D sponsor to -

             (i) A dispensing pharmacy or other dispensing provider (whether directly
             or through an intermediary contracting organization) under the Part D
             plan;

             (ii) The parties listed in§ 423.464(f)(l) of this part with which the Part D
             sponsor must coordinate benefits, including other Part D plans, as the
             result of any reconciliation process developed by CMS under§ 423.464 of
             this part; or

             (iii) An enrollee (or third party paying on behalf of the enrollee) to
             indemnify the enrollee when the reimbursement is associated with
             obtaining drugs under the Part D plan; and

             (2) These costs must be based upon imposition of the maximum amount of
             copayments permitted under § 423.782 of this part. The costs for any
             Part D plan offering enhanced alternative coverage must be adjusted not
             only to exclude any costs attributable to benefits beyond basic prescription
             drug coverage, but also to exclude any prescription drug coverage costs
             determined to be attributable to increased utilization over standard

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              prescnptlon drug coverage as the result of the insurance effect of
              enhanced alternative coverage in accordance with CMS guidelines on
              actuarial valuation.

42 C.F.R. § 423.308.

        69.      Pursuant to 42 C.F.R. § 423.343, after the close of the plan year, CMS is

responsible for reconciling the prospective payments to the Part D Sponsor's actual allowable

costs to calculate final payments and risk sharing amounts. CMS determines the Plan's actual

allowable costs by relying upon certain data elements submitted by Sponsors in their PDE

records. In other words, CMS reconciles payments received by a Part D Plans at the end of the

year to determine whether additional funds are due to or from the Part D Plan Sponsor. A Part D

Sponsor may also receive other payments from CMS resulting from year end reconciliations and

adjustments.

       70.      CMS specifically relies upon and uses the following Prescription Drug Event

("PDE") cost and payment fields in its year-end reconciliation: gross drug cost above out-of-

pocket threshold, gross drug cost below out-of-pocket threshold, low-income cost-sharing

subsidy, and covered Part D Plan paid amount.        As detailed above, the gross drug cost

components are based on the negotiated prices, or pass-through prices, that are required to be

reported to CMS on the PDE.

                5.     Price Reporting to CMS as a Condition of Payment

       71.      On April 27, 2006, CMS issued "Updated Instructions:        Requirements for

Submitting Prescription Drug Event Data (PDE)", in which CMS identified a set of data

elements, PDE data, which are identified as conditions of payment and which are necessary to

determine payments to Medicare Part D PDP Sponsors. The Part D Plan must submit a record

for each and every dispensing event.    "Updated Instructions:   Requirements for Submitting

Prescription Drug Event Data (PDE)," 4.27.2006, pages 5 and 9.

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          72.   The PDE record is a summary record that documents the final adjudication of a

dispensing event by a PBM, based upon claims received from pharmacies.                "Updated

Instructions: Requirements for Submitting Prescription Drug Event Data (PDE)," 4.27.2006,

page 9.

          73.   When CMS identified "Data Elements for PDE Records," it clearly stated, and all

parties were on notice, that submission of PDE data is an express condition of payment: "In this

section, we list the required data elements that must be submitted on PDE records for payment

... This Section defines each data element and its specific potential use for CMS' s payment

process." CMS "Updated Instructions: Requirements for Submitting Prescription Drug Event

Data (PDE)," 4.27.2006, page 11, Sec. 2.

          74.   CMS further described the purpose of the various PDE data elements as follows:

"Much of the data, especially in dollar fields, will be used primarily for payment."      CMS

"Updated Instructions:   Requirements for Submitting Prescription Drug Event Data (PDE),"

4.27.2006, pages 5-6, Section 1.4.

       75.      CMS provided that the reporting "requirements apply to all Part D Plans."

"Updated Instructions:   Requirements for Submitting Prescription Drug Event Data (PDE),"

4.27.2006, page 5. Thus, CMS data reporting requirements and instructions apply to all Part D

Plans (PDPs), Medicare Advantage Part D Plans (MA-PDs), and any other entity providing Part

D benefits.

       76.      When Part D Sponsors or their PBMs report PDE data to CMS, these data

elements include the costs associated with each dispensing event. CMS uses these PDE data

elements, in part, to determine the capitated payments (monthly subsidy) paid for each Medicare




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Part D beneficiary. The Part D Sponsor or PBM is required to submit the cost of the drug

actually dispensed to the Part D beneficiary.

        77.    CMS requires accurate reporting by the Part D Sponsor or PBM of the following

three data elements from PDE records to determine costs that qualify for payment under the

Medicare benefit: Field 27 (Ingredient Cost Paid), the amount paid to the pharmacy for the drug

itself, not including dispensing fees or other costs; Field 30 (Gross Drug Cost Below-Out-of-

Pocket Threshold); Field 31 (Gross Drug Cost Above Out-Of-Pocket Threshold).           "Updated

Instructions: Requirements for Submitting Prescription Drug Event Data (PDE)," 4.27.2006,

pages 14-15.

        78.    Part D Sponsors are required to make PDE data submissions to CMS at the end of

the coverage year (or no later than five months after the close of the year) including PDE

records, adjustments and deletions. See 42 C.F.R. § 423.308. Part D Sponsors also submit cost

reports at the end of the year. 42 C.F.R. § 423.343.

               6.     Certifications Made by Part D Sponsors

        79.    Sponsors and their subcontractors, when submitting Part D PDE data to CMS,

must certify that all claims are true and accurate. CMS "Prescription Drug Benefit Manual,

Chapter 9 -- Part D Program to Control Fraud, Waste, and Abuse," Section 80.1, p. 67, citing 42

C.F.R. § 423.505(k)(3).

        80.    Thus, CMS' s Regulations for the submission of Part D PDE data place the legal

risk of submitting invalid Part D claims data squarely with the submitting or generating entity:

"CMS requires that any entity that generates [Part D] claims data on behalf of a Sponsor" must

both:   "certify to CMS the accuracy, completeness, and truthfulness of that data;" and

"acknowledge that the data will be used for purposes of obtaining Federal reimbursement." See



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 CMS "Prescription Drug Benefit Manual, Chapter 9 -- Part D Program to Control Fraud, Waste,

 and Abuse," page 16, Section 40-2, citing 42 C.F.R. § 423.505(k)(3).

        81.       In keeping with the requirements of 42 C.F.R. § 423.505(k)(3) and CMS

"Prescription Drug Benefit Manual, Chapter 9 -- Part D Program to Control Fraud, Waste, and

Abuse," Section 80.1, p. 67, Sponsors and their subcontractors who submit Part D PDE data to

CMS must certify that it is true and accurate.

        82.       Since January 2006, this express certification of Part D PDE data has been

included in CMS's Electronic Data Interchange Agreement ("EDI Agreement") or a similar

document. The EDI Agreement must be executed in order for an eligible organization to submit

PDE data electronically to CMS. The Caremark defendants, as Part D PBMs who submit PDE

data on behalf of Part D Sponsors, have executed an EDI Agreement with CMS.                       The

certification on the Part D EDI Agreement contains the following (or similar) language:

              By signing below, the eligible organization certifies that each submission
              of PDE data pursuant to this Agreement will be accurate and complete to
              the eligible organization's best knowledge, information and belief.

       83.        Additional certifications submitted by the Part D Sponsor include the following:

                  a) Certification of Data that Determines Payment:

              As a condition for receiving a monthly payment ... the Part D Plan sponsor
              agrees that its chief executive officer (CEO), chief financial officer (CFO), or
              an individual delegated the authority to sign on behalf of one of these officers,
              and who reports directly to the officer, must request payment under the
              contract on a document that certifies (based on best knowledge, information,
              and belief) the accuracy, completeness, and truthfulness of all data related to
              payment. The data may include specified enrollment information, claims
              data, bid submission data, and other data that CMS specifies.

42 C.F.R. § 423.505(k)(l).

                 b) Part D Sponsor Certification of Claims Data:

              The CEO, CFO, or an individual delegated with the authority to sign on behalf
              of one of these officers, and who reports directly to the officer, must certify

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             (based on best knowledge, information, and belief) that the claims data it
             submits under§ 423.329(b)(3) (or for fallback entities, under§ 423.871(f)) are
             accurate, complete, and truthful and acknowledge that the claims data will be
             used for the purpose of obtaining Federal reimbursement.

42 C.F.R. § 423.505(k)(3).

                 c) Certification of Bid Submission Information.

             The CEO, CFO, or an individual delegated the authority to sign on behalf of
             one of these officers, and who reports directly to the officer, must certify
             (based on best knowledge, information, and belief) that the information in its
             bid submission and assumptions related to projected reinsurance and low
             income cost sharing subsidies is accurate, complete, and truthful and fully
             conforms to the requirements in§ 423.265.

42 C.F.R. § 423.505(k)(4).

                d) Certification of allowable costs for risk corridor and reinsurance information.

             The Chief Executive Officer, Chief Financial Officer, or an individual
             delegated the authority to sign on behalf of one of these officers, and who
             reports directly to the officer, must certify (based on best knowledge,
             information, and belief) that the information provided for purposes of
             supporting allowable costs as defined in § 423.308 of this part, including data
             submitted to CMS regarding direct or indirect remuneration (DIR) that serves
             to reduce the costs incurred by the Part D sponsor for Part D drugs, is
             accurate, complete, and truthful and fully conforms to the requirements in
             § 423.336 and § 423.343 of this part and acknowledge that this information
             will be used for the purposes of obtaining Federal reimbursement.

42 C.F.R. § 423.505(k)(5).

       84.      Particularly relevant here, "If the claims data are generated by a ... contractor, or

subcontractor of a Part D Plan Sponsor, [specifically including a PBM] the contractor or

subcontractor must similarly certify (based on best knowledge, information and belief) the

accuracy, completeness, and truthfulness of the data and acknowledge that the claims data will

be used for the purpose of obtaining Federal reimbursement." 42 C.F.R. § 423.505(k)(3)




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        85.    CMS recogmzes that the submission of "inaccurate or incomplete prescription

drug event (PDE) data" constitutes Part D fraud, waste, or abuse. CMS "Prescription Drug

Benefit Manual, Chapter 9 -- Part D Program to Control Fraud, Waste, and Abuse," p. 56.

        86.    As described below, the Caremark defendants, in their contract with Aetna,

agreed to comply with all applicable law, regulations, and CMS instructions, and acknowledged

that claims data and information provide in connection with the contract "are used for the

purpose of obtaining federal funds."

       87.     Contrary to the requirements of 42 C.F.R. § 423 .505(k)(3 ), the Caremark

defendants, as a subcontractor, have provided or caused to be provided to the government false

and   fraudulent    certifications   of data   accuracy,    completeness    and   truthfulness   and

acknowledgment that the claims data will be used for the purpose of obtaining federal

reimbursement.

V.     CVS CAREMARK BOTH REPORTED AND CAUSED THE REPORTING OF
       FALSE AND INFLATED NEGOTIATED PRICES TO CMS

       A.      Caremark's Failure to Provide True Negotiated Price Data to Aetna

       88.     Aetna is a Part D Plan Sponsor that has a contract with CMS.              Aetna has

approximately 750,000 beneficiaries in its Part D Plans and is Caremark's largest unrelated client

for PBM services.

       89.     Aetna Health Management L.L.C., an affiliate of Aetna, Inc. entered into a 12-

year PBM contract, dated as of July 27, 2010, whereby CaremarkPCS Health L.L.C., Caremark

RX L.L.C. and CVS Caremark, agreed to perform certain services for Aetna in connection with

Aetna's Part D plan offerings beginning January 1, 2011.         Among the services provided by

Caremark PSCHealth and Caremark Rx are creating, contracting with, maintaining and

administering a network of pharmacies who agree to dispense prescriptions to Aetna Part D


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beneficiaries, and the negotiation, on behalf of Aetna, of the prices to be paid to the pharmacies

for each drug dispensed to an Aetna beneficiary. The Caremark defendants agreed to negotiate

the prices with the pharmacies on a pass-through basis, subject to overall rate guarantees. The

Caremark defendants further agreed to accurately adjudicate and process for payment claims

received on behalf of Aetna Part D plan beneficiaries.

        90.    CVS Caremark, CaremarkPCS Health and Caremark Rx also agreed to provide

drug cost data, including the price paid to the pharmacy for each claim of Aetna Part D

beneficiaries (the negotiated price), as required to be submitted to CMS in accordance with

42 C.F.R. § 423.505(b)(8) and (9) and 42 C.F.R. § 423.329(b)(3)(i). The required information is

in the set of data known as a Prescription Drug Event ("PDE"), as described above.

       91.     The prices paid to the pharmacy, the negotiated prices under 42 C.F.R. § 423.100,

are also used for other purposes. "Beneficiary cost sharing is a function of the negotiated price,

either directly as in coinsurance percentages of the negotiated price, or indirectly, as copayments

which are ultimately tied to actuarial equivalence requirements based on negotiated prices."

74 Fed. Reg. 1490 at 1505.      In other words, the higher the negotiated price, the higher a

beneficiary's out-of-of pocket costs.

       92.     For purpose of claims adjudication, CaremarkPCS Health provided prices for

each claim dispensed to Aetna beneficiaries that CaremarkPCS Health certified were the actual

negotiated prices. Aetna included these prices in the PDEs it submitted to CMS for the purpose

of getting reimbursed by CMS. The Caremark defendants oversee the creation of the PDE files

and review and approve the submission of the PDE files to CMS.




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               93.     Throughout the period from 2011 to the present, the Caremark defendants have

       reported inaccurate negotiated prices for purposes of reporting to CMS, rendering all claims for

       payment based on those prices false claims.

               94.     Under its contract with Aetna, CaremarkPCS Health sets a price known as a MAC

       price for multi-source generic drugs Aetna provides to beneficiaries under its Part D plans. The

       MAC price is the price Aetna agrees to pay for a prescription for a particular drug. The MAC

       price is also the price a beneficiary is told is the charge for each specific drug and is the price

       charged by the pharmacy for the drug when a beneficiary goes to the pharmacy to fill the

       prescription. This is the price the Caremark defendants report or cause to be reported as the drug

       cost on the PDE.

               95.     Under the contract, CaremarkPCS Health has the ability to change MAC prices.

       CVS PCSHealth and the Caremark defendants frequently change the MAC prices throughout the

       plan year.

              96.     The Aetna and Caremark contract also contains the following confidential

       provision, referred to in the industry as a "retail discount guarantee":



Days
             2011     2012     2013     2014     2015      2016     2017     2018     2019     2020     2021     2022
Supply

1-34         75.00%   75.20%   75.40%   75.60%   75.80%    76.00%   76.20%   76.40%   76.60%   76.80%   77.00%   77.20%


35-83        75.00%   75.20%   75.40%   75.60%   75.80%    76.00%   76.20%   76.40%   76.60%   76.80%   77.00%   77.20%


84+          75.00%   75.20%   75.40%   75.60%   75.80%    76.00%   76.20%   76.40%   76.60%   76.80%   77.00%   77.20'70



      These percentages listed are discounts off of reported Average Wholesale Prices ("A WP" or

      "A WPs"), an industry benchmark price.            In other words, for example, in 2011, Caremark



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 guaranteed Aetna that Aetna would pay no more in the aggregate than 25% of A WP (the flip side

 of 75% off A WP) for qualifying generic prescriptions.

         97.   In addition, the contract sets forth a separate administrative fee to be paid to the

Caremark defendants for each paid claim arising from a covered drug dispensed by a retail

pharmacy to members under Aetna Part D plans. This fee is in the range of $1.00 per claim.

         98.   Although there is some question as to whether Aetna' s contract with the

Caremark defendants requires the Caremark entities to negotiate the best prices they can obtain

from a pharmacy, or whether the Caremark defendants must actually pass on all discounts they

obtain to Aetna (versus merely having agreed to meet certain guaranteed discount amounts and

then being permitted to retain any additional savings they could accrue), the Caremark

defendants were clearly required to report the actual pass-through or negotiated prices with

pharmacies to Aetna for purposes of reporting to CMS and for purposes of charging Pait D

beneficiaries for their share of drug payments. The CMS negotiated price regulations are very

explicit in providing that even if PBMs continue to have lock-in price contracts with Part D

Sponsors, the actual negotiated, pass-through prices to the pharmacy must be reported to CMS.

As described in detail below, the Caremark defendants knowingly failed to report true negotiated

pnces.

         99.   The Caremark defendants adjusted the MAC prices they set for Aetna's Part D

business so that the drug prices for Aetna Part D beneficiaries precisely met, but did not exceed,

the retail discount guarantees in the contract between Aetna and Caremark. In other words, the

Caremark defendants carefully managed the MAC prices so as to hit the minimum aggregate

discount it had guaranteed Aetna, but not to allow Aetna to get the benefit of any lower prices.

The arbitrary increases in MAC prices made by the Caremark defendants throughout the year



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show that they are not reporting true negotiated prices since it is extremely unlikely that the

actual prices the Caremark defendants were paying the pharmacies would have increased over

time. Market forces in the generic drug industry invariably push generic prices down over time,

barring unusual circumstances such as manufacturing issues or ingredient shortages.

        100.    In September, 2012, the Caremark defendants notified Aetna of an increase in the

MAC prices of 229 generic drugs. These drugs represented 59% of the utilization by Aetna's

Part D beneficiaries. On average, the increase was 13% for a 30 day supply.

        101.    Relator did an investigation at that time and discovered that the MAC prices the

Caremark defendants had been charging, as well as those they proposed to charge through its

new MAC list, were significantly higher than prices being charged by other Part D Plan Sponsors

to their beneficiaries for the same drugs.     For example, Aetna competitors had prices for

lisinoprol l 0 mg tablets that ranged from $1.54 to $3.02, but Aetna's price was $4.69.

        102.    In a November 1, 2012 email regarding the changes to Aetna's Medicare MAC

pnces, Elana Kinney, Director of Industry Analysis at CVS Caremark, explained that

Caremark's proposed Medicare MACs were higher than the commercial MACs because the

Medicare MAC prices "were established with consideration to the overall GER targets for each

block of business." These GER targets are the guaranteed discount percentages discussed in

paragraph 96.

       103.     As a result of concerns raised by Relator within Aetna, Relator's team did a

thorough comparison of the prices for generic drugs that Caremark had allegedly negotiated for

Aetna and the prices beneficiaries of Aetna' s competitors were paying. Aetna determined that

Aetna's prices were as much as 25% to 40% higher than its competitors' prices, or far less

competitive than Aetna's size would seem to dictate.



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        104.    In advance of a scheduled telephonic meeting on February 11, 2013, Aetna

 brought its findings about the drug prices to the attention of the Caremark defendants. Aetna

personnel who attended this meeting included Terri Swanson, Head of Medicare Pait D, Relator

Behnke, Brian Kost, Head of Pharmacy Finance; Howard Crowley, Head Pharmacy Customer

Relations and Renwick Elder, Vice President Pharmacy. Employees of the Caremark defendants

who attended included James Margiotti, Senior Vice President, Aetna Strategic Business Unit,

who is the main Caremark contact with Aetna; Allison Brown, Senior Vice President

Underwriting and Actuarial; Brian Januzik, Vice President Actuarial; John Lavin, Senior Vice

President Provider Networks; and Beth Paul, Area Vice President for Client Relationship

Management.

        105.   At that meeting and again at a telephonic meeting on February 14, 2013, the

Caremark defendants reported that they had basically recreated Aetna's study and they verified

that Aetna' s analysis of the prices was correct.

        106.   Ms. Behnke then asked if the Caremark defendants could use this information to

negotiate lower pricing with pharmacies or if Caremark had already negotiated discounts similar

to what Aetna's competitors had negotiated, but were not passing them through to Aetna. In a

virtual admission of liability under the Medicare statute and Part D regulations, Allison Brown

responded that the Caremark defendants had negotiated lower prices on Aetna 's hehaf:f' hut it

was not required under the contract to provide those prices to Aetna. As was clearly understood

by all parties, however, the prices provided to Aetna were also the prices that Aetna reported to

CMS as the negotiated prices.

       107.    At the February 11 telephonic meeting, CVS Caremark's Allison Brown referred

to a "see-saw" effect with Caremark contracts, such that if the Caremark defendants passed better



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pricing onto Medicare, it would require a concession from Caremark, rather than a concession

from the retail pharmacies. The Caremark defendants also stated to the meeting attendees that

improving or increasing the discounts Aetna received would adversely impact the Caremark

defendants' earnings due to the Caremark defendants' retail contracting methodology.

        108.   This same concept of lower prices that were not being provided to Aetna was

referred to a number of times during on-going discussions between Aetna and the Caremark

defendants about performing a market check of the drug prices.           In a document called

Aetna/Caremark CVS Market Check - Briefing Document which Howard Crowley, Aetna

Pharmacy Manager, circulated internally on February 25, 2013, it was noted that the Caremark

defendants had "indicated that improving Aetna's Medicare Discounts relative to the current

contracted rates will have a direct adverse impact of [sic] CVS Caremark's earnings due to their

retail network contracting methodologies."

       109.    As noted in a March 5, 2013 email written by Relator to the Aetna Medicare

team, the Caremark defendants told Aetna "they manage to aggregate discounts that span their

Medicare and Commercial clients".

       110.    In a March 13, 2013 email written by Relator Behnke, which stated that it

reflected comments by Aetna' s Terri Swanson, Head of Medicare Part D, Behnke wrote:

"CVSCM indicated on 2/11 that our competitive analysis would not be helpful in negotiating

better rates with pharmacies - but that CVSCM already has secured better rates than they pass

along to us.   CVSCM indicated that they manage to an aggregate guarantee across lines of

business, and thereby passing better rates though [sic] to Aetna would cost CVSCM money.

This approach conflicts with the Federal Regulations definition of Pass Through (42 C.F.R.

§ 423.308).



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        111.   If the Caremark defendants was accurately reporting the actual prices that were

being paid to the pharmacies, however, a change that was achieved in the discount Aetna

received would not impact the Caremark defendants' earnings. Rather, if Caremark could have

increased Aetna's discount, it would have come from having negotiated lower prices with the

pharmacies, which should not have had any impact on the Caremark defendants' bottom line.

        112.   Although the Caremark defendants and Aetna could have negotiated a contract

that permitted the Caremark defendants to charge Aetna a different price (lock-in prices) rather

than the pass-through price, in fact the prices the Caremark defendants charged Aetna and the

price the Caremark defendants reported for submission to CMS were the same. Accordingly, as

stated above, any increase in Aetna's discounts would have only been achievable by garnering

greater discounts from the pharmacies, and should not have impacted the Caremark defendant's

bottom line since the prices were merely pass-throughs. Caremark's profit for the PBM services

is covered through administrative fees, not a mark-up on drug prices.        Regardless of the

contractual obligations, moreover, the Caremark defendants were legally required to report those

prices to Aetna for submission to CMS. Instead, the Caremark defendants represented that the

prices Aetna was paying were the same as the prices the Caremark defendants were paying the

pharmacies. When Aetna indicated it intended to perform a market check, in order to decide if it

would contract with a PBM offering lower drug prices, as it is permitted to do under the

CaremarkPCS Health contract, the Caremark negotiators immediately offered to lower Aetna's

drug prices by 100 bps, starting in September, 2013, and going forward. When Aetna actually

commenced the market check, the Caremark defendants offered to improve Aetna' s drug prices

for 2014 by 150 bps.




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        113.   These immediate, unilateral offers of lower prices would not have been likely if

the Caremark defendants were truly passing along the actual drug prices that had been negotiated

 with the pharmacies since the Caremark defendants should not have had those additional savings

"in pocket" to offer to Aetna.

        114.   During the first half of 2013, the Caremark defendants again announced MAC

price increases. Caremark baldly asserted that this was being done to ensure that the Caremark

defendants would "hit," but not exceed, the discount guarantee. Hence the "Medicare MAC

Change Notification" to Aetna listed the following justification for every MAC change --

"Adjustment to the MAC list intended to manage and allow CMX [Caremark] to achieve the

contract guarantees." Since these were price increases, not decreases, the changes could only

serve to ensure that the Caremark defendants did not exceed the price guarantee.

       115.    At this time also, various Aetna personnel commented about the apparent spread

that the Caremark defendants were improperly embedding in their reported prices.         Nancy

Cocozza, Head of Medicare for Legacy/Coventry (a subsidiary of Aetna), in discussions with

other Aetna personnel, questioned why the Caremark defendants were balking about giving

Aetna control of MACs since Caremark could not earn a spread anyway - "I also explained that

the CMS pass through pricing rules for Medicare preclude CVS Caremark from hiding spread,

and because of that, they should not prohibit us from negotiating retail arrangements or

controlling MAC. If they can't earn spread, why should it be an issue?"

       116.    Terri Swanson continued to comment on the "hidden spread" inherent in the

generic discount rate guarantee, in an email dated July 28, 2013: "look at how much CVS CM is

making today on our arrangement - including the hidden spread inherent in the capped generic

discount rate guarantee."    In emails discussing the possibility of different timing of the



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        announced MAC price increases, Swanson also matter-of-factly stated that CVS is "managing to

        the guarantee" so it shouldn't care what the slope of the GER discount looks like over the course

        of the year.

                117.    In negotiations for a new contract following the market check, the Caremark

       defendants offered a risk share provision as follows: If Caremark acquisition costs accelerated

       faster than the Part D discount guarantees in the agreement, Caremark would reset the guarantee

       so that Aetna would receive 75% of the improvement. This, too, indicates that Caremark was

       operating the PBM so as to make a spread on the difference between the price Caremark paid the

       pharmacies and the price Aetna was charged for the drugs because otherwise Aetna would

       receive 100% of the improvement.

               118.    In response to this proposal, Relator Behnke advised the Caremark defendants

       that the 25% Caremark retained in this type of split would create an administrative cost that

       would have to be reported to CMS. Tellingly, Caremark then stated it would no longer offer the

       split it had proposed.

               119.    The contract between Aetna and the Caremark defendants also guarantees Aetna

       confidential lower prices for the identical generic drugs if they are dispensed to Aetna large

       commercial non-Part D retail plans with lock in pricing:

                                                                                     d~n~fi~Prescript~Q~~;:ai~lti~~ . ·
                                                                                                             c,-«'?>>'"''-


Days
              2011     2012     2013     2014     2015      2016     2017     2018      2019       2020     2021             2022
Supply

1-34          N/A      75.20%   75.40%   75.60%   75.80%    76.00%   76.20%   76.40%    76.60%     76.80%   77.00%           77.20%


35-83         N/A      75.20%   75.40%   75.60%   75.80%    76.00%   76.20%   76.40%    76.60%     76.80%   77.00%           77.20%


84+           N/A      75.20%   75.40%   75.60%   75.80%    76.00%   76.20%   76.40%    76.609'0   76.80%   77.00%           77.20%




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Although the discounts look quite comparable to those for the Medicare Part D business, there is

a significant difference on the commercial side. Under the contract, "for the avoidance of any

doubt no Administrative Fees shall be payable with respect to Claims subject to Commercial

Retail Large Account Lock-In Pricing." Rather the administrative fee is part of the amount

Aetna pays for the drug pursuant to the discount guarantee.

        Since the Caremark defendants were clearly not providing their PBM services for free on

the commercial side, it is apparent that the Caremark defendants had negotiated lower drug

prices for Aetna's large retail commercial plans or were charging Aetna lower drug prices for the

large commercial plans. Since Aetna is actually paying Caremark slightly less for drugs on the

commercial side (getting a 75.20% discount off AWP, or paying 24.8% instead of 25% ), and

Aetna is not paying the $1/scrip administrative fee, it is obvious that the Caremark defendants

are paying the pharmacies less than the amount that Aetna is paying Caremark, because

otherwise the Caremark defendants would not be making any money on their services.

        120.      For each of the years 2011-2013, the reported Medicare Part D prices received by

Aetna from the Caremark defendants matched the contract guarantee exactly. This result would

only be expected from a lock-in contract. It would not occur if true pass-through prices were

being reported.

       121.       The information set forth in each of the paragraphs 92 to 120 above demonstrates

that the Caremark defendants are earning a "spread" or the difference between what Caremark

pays pharmacies in the Aetna network and what the Caremark defendants report to Aetna to

report to CMS as the negotiated price for drugs for Part D beneficiaries, contrary to the Medicare

Part D regulations.




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        122.   On information and belief, the Caremark defendants had an agreement with the

pharmacies in the Aetna network that resulted in the actual price paid for the Part D prescription

being the average of the commercial and the Part D price for the same drug. In other words, the

Caremark defendants negotiated a swapping arrangement whereby the pharmacies received a

higher payment for Part D prescriptions in exchange for accepting lower payments for

commercial contracts.    In addition or alternatively, on information and belief, the Caremark

defendants failed to report certain post-point-of-sale adjustments, fees or payments they received

that lowered the drug cost actually paid.

        B.     Additional Evidence That the Caremark Defendants Are Not Reporting True
               Pass-Through Prices to Aetna for Reporting to CMS

        123.   CVS Caremark is the largest purchaser of drugs in the country. Indeed, CVS

Caremark claimed to provide Aetna with "industry leading pharmacy benefit managing services"

and stated that Caremark is "unmatched in terms of the ... low total cost" it delivers including

negotiated rates for generic drugs. Given its market share, as well as the size of the Aetna Part D

plans, there is no reason CVS Caremark and the Caremark defendants should not be able to

negotiate for Aetna the lower drug prices reflected in the prices that Aetna's competitors were

reporting.

       124.    Additionally, the prices Part D Sponsors pay for drugs usually vary by pharmacy

chain or from geographic region to region, reflecting regional variations in costs and common

price differentials between large national chains as compared to small, local pharmacies.

Inexplicably, the discounts from A WP that the Caremark defendants say they have negotiated

with pharmacy chains for Aetna's Part D beneficiaries do not vary at all by geographic region or

pharmacy chain. For example:




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                                           CVS         Rite-Aid         Target      Wal reens    Walmart
            Wellcare Health                  81.7            83.2           83.8          83.5       85.0
            Classics Plan
            RCGM Plus                         85.4             82.6          82.6         85.9         74.6
            Aetna                             80.8             80.8          80.8         80.8         80.8

                                                         NEW YORK                                  I
                                           CVS         Rite-Aid         Target      Wal~reens    Walmart
            Wellcare Health                  81.7            83.2           83.9          83.7       85.0
            Classics Plan
            RCGM Plus                        85.4              82.6          82.6         85.4         74.6
            Aetna                            80.7              80.8          80.8         80.8         80.8


                                                     .. "' NEWJE~SEY
                         ........! .....
                                                                                                   !
                                           CVS         Rite-Aid         Target      Walgreens    Walmart
         Wellcare Health                     81.7            83.2           83.7          83.7       85.0
         Classics Plan
         RCGMPlus                            85.4              82.6          82.6         85.5         74.6
         Aetna                               80.8              80.8          80.8         80.8         80.8


       Thus the prices Aetna's Part D plans pay for drugs through the Caremark defendants

PBM do not vary based on the size of the pharmacy chain, suggesting that those prices are not

the actual prices that the Caremark defendants have negotiated with the pharmacies.                These

prices are consistent with lock-in prices, not the pass through prices the Caremark defendants

were supposed to provide.

       C.       Caremark's False Certification to Aetna of Negotiated Prices

       125.     Aetna, in reliance on information received from, reviewed by and approved by the

Caremark defendants, reported the drug cost data and negotiated prices it received from the

Caremark defendants on each PDE submitted for its Part D plan beneficiaries from January 1,

2011 and continues to do so. Aetna also relied on a certification it received from CaremarkPCS

Health and on information it received from the Caremark defendants for DIR reports that did not


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reflect network management fees or other price concessions received by the Caremark

defendants. Accordingly, as a result of the Caremark defendants' actions, the price concessions

or network management fees were not factored into the DIR reconciliation reports.

        126.   CMS used the negotiated prices and drug cost data submitted on behalf of Aetna

to reconcile payments made or due to Aetna for drugs dispensed to Aetna beneficiaries in 2011

and 2012.

        127.   As a result of this reconciliation, Aetna received payments from CMS in the years

20 12 and 2013.

        128.   Had the Caremark defendants provided accurate, non-fraudulent negotiated prices

to be reported to CMS, the amount of these payments from CMS would have been lower by an

amount estimated to be $25 million in 2012 and $50 million in 2013.

       D.      The Caremark Defendants Report False Negotiated Prices for Their
               Affiliated Part D Plan, Silverscript

       129.    A Caremark subsidiary is the PBM for SilverScript. This PBM or the Caremark

defendants negotiate with pharmacies the drug prices SilverScript beneficiaries pay. The prices

paid for drugs for SilverScript beneficiaries are 25% higher than those reported by competing

PDPs. These prices are essentially the same or slightly higher than the prices reported for Aetna.

These prices are consistent with lock-in prices, and a hidden spread, not the pass through prices

the Caremark Defendants were supposed to report. Further, the discounts from A WP that the

Caremark defendants say they have negotiated with pharmacy chains for SilverScript's Part D

beneficiaries do not vary at all by geographic region or pharmacy chain suggesting that those

prices are not the actual prices that the Caremark defendants have negotiated with the

pharmacies.




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        130.    Upon information and belief, the Caremark defendants have negotiated lower

 prices for drugs with the pharmacies in the SilverScript network than those it reported or caused

to be reported to CMS on PDEs submitted on behalf of or by SilverScript.

        131.   The prices reported by the Caremark defendants and/or SilverScript were not the

amount actually paid. On information and belief, the Caremark defendants had an agreement

with the pharmacies in the SilverScript network that resulted in the actual price paid for the

generic Part D prescription drugs being the average of the commercial and the Part D price for

the same drug. In other words, the Caremark defendants negotiated a swapping arrangement

whereby the pharmacies received a higher payment for Part D prescriptions in exchange for

accepting lower payments for commercial contracts.

        132.   Upon information and belief, the Caremark defendants and SilverScript failed to

report certain post-point-of-sale adjustments, fees or payments received by Caremark that

lowered the drug cost actually paid.

       133.    Upon information and belief, the Caremark defendants and SilverScript do not

accurately report drug costs and drug cost data on SilverScript PDEs. As a result, the Federal

Government's payments to SilverScript under Part D, including those for low income subsidies

for SilverScript beneficiaries, have been increased.      Relator estimates that Silverscript's

fraudulent reporting of negotiated prices resulted in an overcharge to the government of $215

million in 2012 and $310 million in 2013.

       134.    On information and belief, the Caremark defendants are negotiating an aggregate

price guarantee for SilverScript with each pharmacy chain in its network. In other words, each

chain agrees to accept in payment a percentage off of A WP per generic drug, measured across

the commercial plans and Part D plans for which the Caremark defendants are the PBM.



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        135.    SilverScript and the Caremark defendants have made explicit certifications of the

 accuracy and completeness of PDE data since 2006. They continue to make these certifications

on an ongoing basis to the Government.

        136.    SilverScript and the Caremark defendants have provided or caused to be provided

to the government certifications of data accuracy, completeness and truthfulness and the

acknowledgments that the claims data will be used for the purpose of obtaining federal

reimbursement required by 42 C.F.R. § 423.505(k)(3) that are false and fraudulent.

        137.    Relator estimates that, as a result of the activities outlined in paragraphs 92 to

136, the Caremark defendants have hidden approximately $500 million of administrative

expense in drug cost in 2012, approximately $900 million in 2013 and will hide $1.5 billion of

administrative expense in drug costs in 2014.

       E.       Failure to Charge the Negotiated Price Adversely Impacts the Beneficiary
                and Ultimately Causes the Government to Pay More

       138.     The negotiated price is the amount that is supposed to be charged to the Part D

plan beneficiary for drugs. The beneficiary does not pay for any administrative cost.

       139.     As CMS explained when first considering the change to negotiated pricing:

            [We are] refining our definitions related to what may be included in the
            drug costs Part D sponsors use as the basis for calculating beneficiary cost
            sharing, reporting drug costs to CMS for the purposes of reinsurance
            reconciliation and risk sharing, as well as submitting bids to CMS.

Medicare Program: Revisions to the Medicare Advantage and Prescription Drug Benefit

Programs: Proposed Rule, 73 Fed. Reg. 28556 (May 16, 2008)

       140.    As CMS recently explained in discussing whether certain costs should be backed

out of reported (negotiated) prices and instead reflected in aggregate, annual reconciliations

(typically, DIR), the "reporting differential matters because this variation in the treatment of

costs and price concessions affects beneficiary cost sharing, CMS payments to plans, federal

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 remsurance and low-income cost-sharing (LICS) subsidies, and manufacturer coverage gap

discount payments. Differential treatment of costs would also be expected to affect plan bids."

Medicare Program: Contract Year 2015 Policy and Technical Changes to the Medicare

Advantage and the Medicare Prescription Drug Benefit Program, 42 CFR Parts 409, 417, 422,

423 and 424 [CMS-4159-P], at p 234.

        141.     Further, when price concessions "from pharmacies are reflected in forms other

than the negotiated price, the degree of price concession that the pharmacy has agreed to is no

longer reflected in the negotiated prices available at point of sale or reflected on the Medicare

Prescription Drug Plan Finder (Plan Finder) tool. Thus, the true price of drugs at individual

pharmacies is no longer transparent to the market. Consequently, consumers cannot efficiently

minimize both their costs (cost sharing) and costs to the taxpayers by seeking and finding the

lowest-cost drug/pharmacy combination. Moreover, as the coverage gap closes, there are fewer

and fewer beneficiaries who are exposed to the full cost of drug products, either at the point of

sale or as reflected in Plan Finder estimates. When this occurs, the basis of competition shifts

from prices to cost sharing, and the pricing signals available to the market can be distorted when

lower cost sharing is not aligned with lower prices. Thus, we believe the exclusion of pharmacy

price concessions from the negotiated price thwarts the very price competition that the Congress

intended when it said that private plans would compete with other plans on both premiums and

negotiated prices.," id., at p. 237.

        142.    Any reporting of negotiated prices that excludes such costs - especially where

those costs are not even accounted for in the post-sale reconciliation through DIR, as here -

creates these issues on an even greater scale.




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         143.   Through their negotiations with pharmacies, the Caremark defendants caused the

 pharmacies in its network to fail to charge beneficiaries of the Aetna PDPs the true negotiated

price. Instead, such beneficiaries were charged higher prices. As a result, beneficiaries paid

higher co-pays and deductibles and were pushed earlier into the coverage gap phase (the "donut

hole") and also the catastrophic phase where the government pays most of the total cost.

         144.   In addition, by failing to reveal the hidden administrative costs related to the

Aetna contract, or the amounts that were actually paid to pharmacies for drugs dispensed to

Aetna and SilverScript beneficiaries, the Caremark defendants caused increases in the low

income subsidy payments and reinsurance subsidy payments made by the government, the very

results that Congress and the regulations intended to prevent. See 74 Federal Register 1494 at

1505.

        145.    Failure to offer a beneficiary the negotiated price of a Part D drug constitutes

fraud. CMS Prescription Drug Benefit Manual, chapter 70.1. 3 (p. 59) (2006 ed).

VI.     OTHER SILVERSCRIPT BENEFITS FROM THE FALSE REPORTING OF
        DRUG PRICES ACTUALLY PAID

        146.    Aetna and SilverScript are the largest Part D clients of CVS Caremark's PBMs.

Together they total 70% of CVS Caremark's Medicare beneficiaries.

        147.    CVS Caremark reported in its IOQ filed on October 17, 2013, that as of June 30,

2013, SilverScript had approximately 3.4 million members.

        148.    SilverScript has the largest number of members of any Part D plan in the country

who are eligible for the low income subsidy whereby the government pays most of the Part D

premium, deductibles and cost sharing. Indeed, 25% of all Part D beneficiaries who qualify for

the low income subsidy are SilverScript members, see http://www.cms.gov/Research-Statistics-




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 Data-and-Systems/Statistics-Trends-and-Reports/MCRAdvPartDEnrolData/LIS-Enrollment-by-

Plan.html

        149.   The Federal Government pays approximately 18% of the drug cost of Medicare

Part D for non-low income beneficiaries. The Federal Government pays 65% of the drug cost of

Medicare Part D for each beneficiary receiving the low income benefit. For 2013, Medicare

estimated it would pay private plans $1,139 in reimbursements per enrollee and an additional

$2,134 per low-income enrollee. 2012 Annual Report of the Boards of Trustees of the Federal

Hospital Insurance and Federal Supplementary Medical Insurance Trust Funds, April 23, 2012,

p. 167, available at www.cms.gov/Research-Statistics-Data-and-Systems/Statistics-Trends-and-

Reports/ReportsTrustFunds/Downloads/TR2012.pdf. Therefore, it benefits Silverscript and also

Caremark if its reported drug prices are high, as the Federal Government will pay 65% of the

cost.

        150.   Hiding administrative costs by reporting higher negotiated drug prices enables

SilverScript to lower the premiums in its Part D bids.         Amounts included in the reported

negotiated drug prices that are administrative costs should not be included in these bids.

        151.   Hiding administrative costs in the false negotiated drug prices that were reported

allows SilverScript to qualify for auto-enrollment and facilitates auto-enrollment of more low

income subsidy eligible individuals as the SilverScript premiums do not exceed the low income

subsidy amount, see, 42 C.F.R. 423.34 (d).

VII.    KICKBACKS BY THE CAREMARK DEFENDANTS

        152.   Paragraphs 1 to 151 are incorporated by reference as if fully set forth.

        153.   CVS Caremark is one of the three largest PB Ms operators in the United States.

CVS Caremark has one contract ("the commercial contract") with each pharmacy chain. That

contract covers all the different commercial lines of business CVS Caremark has with that chain

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such as providing prescriptions for commercial plans and workers' compensation programs.

This contract includes different prices for participation in preferred and contract networks for

clients of CVS Caremark's PBMs.

        154.   Upon information and belief, CVS Caremark has a separate contract for

pharmacies in its network that participate in Medicare Part D.

        155.   The drug prices the Caremark defendants pay to pharmacies pursuant to

commercial contracts are lower than the prices the Caremark defendants negotiate and pay to

pharmacies for the identical drug under Medicare Part D. This is demonstrated in the Caremark

defendants' contract with Aetna, where commercial prices are lower and where Aetna is not

charged an administrative fee (the $1 per prescription) referenced in~[ 97, above).

       156.    This arrangement benefits the Caremark defendants because in commercial

contracts, they keep the difference ("the spread") between the price Caremark has negotiated

with the pharmacy and the price they charge their PBM customers, particularly under lock-in

PBM agreements. For example, if the commercial customer agrees to pay $10 per prescription

of Drug X, the Caremark defendants negotiate a price of $7 with the pharmacy for the drug and

keep the $3 difference. However, the Caremark defendant prices the drug to the commercial

customer at $10. The Caremark defendants can also keep the spread related to their commercial

contracts by manipulation of MACs.

       157.    As set forth in paragraphs 57 to 70, Medicare Part D seeks pass-through pricing

and will not pay this spread as part of the drug cost. On information and belief, the Caremark

defendants therefore negotiate with and agree to pay the pharmacy $10 as the ingredient cost for

the same drug dispensed to a Medicare beneficiary.




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        158.    Because the Part D program is paying more for the same drug, the Caremark

defendants can keep a large administrative fee added to the drug cost in their commercial plans.

The pharmacy is satisfied with this arrangement because, on average across all commercial and

Medicare Part D plans, it is receiving its desired price for each drug. For example, Chain A

wishes to be paid $9, on average for a particular drug. The Caremark defendants in their role as

a PBM allegedly negotiate a $10 point of sale price for the drug when it is dispensed to a Part D

beneficiary. The Caremark defendants also agree to pay the pharmacy $8 for the same drug

dispensed under a commercial drug plan. The Caremark defendants then price the drug to the

commercial customer (with a lock in contract) at $10, and keep the $2 difference as an

administrative fee. On average, the pharmacy has received $9 for the drug.

        159.   On information and belief, the Caremark defendants are negotiating an aggregate

price guarantee with each pharmacy chain in their networks. In other words, each chain agrees

to accept in payment, a percentage off of A WP per generic drug, measured across the

commercial plans and Part D plans for which the Caremark defendant is the PBM.

       160.    On information and belief, the Caremark defendants, directly or indirectly, agree

to accept pharmacy chains into their commercial networks if the pharmacy chain agrees to an

arrangement that charges lower drug prices for commercial plan participants and higher prices

for the same generic drugs dispensed to Part D plan participants.

       161.    In addition to the benefits or increased revenues already described above, to the

extent an Aetna Part D beneficiary or SilverScript beneficiary fills his prescription at a CVS

pharmacy, CVS Caremark benefits further from the inflated reported price, because the CVS

pharmacy will be paid the higher false price reported to CMS.




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 VIII. APPLICABLE LAW

        A.      The Federal False Claims Act

        162.    The Federal False Claims Act ("FCA"), 31 U.S.C. §§ 3729-3733, provides, inter

alia, that any person who (1) "knowingly presents, or causes to be presented, a false or

fraudulent claim for payment or approval," (2) "knowingly makes, uses, or causes to be made or

used, a false record or statement material to a false or fraudulent claim," is liable to the United

States for a civil monetary penalty plus treble damages; or (3) knowingly makes, uses, or causes

to be made or used, a false record or statement material to an obligation to pay or transmit money

or property to the Government, or knowingly conceals or knowingly and improperly avoids or

decreases an obligation to pay or transmit money or property to the Government. 31 U.S.C.

§ 3729(a)(l)(A)-(B) and (G).

        163.   The terms "knowing" and "knowingly" are defined to mean "that a person, with

respect to information (1) has actual knowledge of the information; (2) acts in deliberate

ignorance of the truth or falsity of the information; or (3) acts in reckless disregard of the truth or

falsity of the information." 31 U.S.C. § 3729(b)(l)(A)(i)-(iii). Proof of specific intent to defraud

is not required. 31 U.S.C. § 3729(b)(l)(B).

        164.   The term "claim" means "any request or demand, whether under a contract or

otherwise, for money or property and whether or not the United States has title to the money or

property, that (1) is presented to an officer, employee, or agent of the United States; (2) is made

to a contractor, grantee, or other recipient, if the money or property is to be spent or used on the

Governments behalf or to advance a Government program or interest, and if the United States

Government (a) provides or has provided any portion of the money or property requested or

demanded; or (b) will reimburse such contractor, grantee, or other recipient for any portion of the

money or property which is requested or demanded .... " 31 U.S.C. § 3729(b)(2)(A)(i)-(ii).

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        165.     The term "material" means "having a natural tendency to influence, or be capable

of influencing, the payment or receipt of money or property." 31 U.S.C. § 3729(b)(4).

        B.       The Federal Anti-Kickback Statute

        166.     The federal Anti-Kickback Statute ("AKS"), 42 U.S.C. § 1320a-7b(b), arose out

of congressional concern that remuneration provided to those who can influence healthcare

decisions would result in goods and services being provided that are medically unnecessary, of

poor quality, or harmful to a vulnerable patient population.           To protect the Medicare and

Medicaid programs from these harms, Congress enacted a prohibition against the payment of

kickbacks in any form. First enacted in 1972, Congress strengthened the statute in 1977 and

1987 to ensure that kickbacks masquerading as legitimate transactions did not evade its reach.

See Social Security Amendments of 1972, Pub. L. No. 92-603, §§ 242(b) and (c); 42 U.S.C.

§ 1320a-7b, Medicare-Medicaid Antifraud and Abuse Amendments, Pub. L.                     No. 95-142;

Medicare and Medicaid Patient and Program Protection Act of 1987, Pub. L. No. 100-93.

       167.      The AKS prohibits any person or entity from offering, making, soliciting, or

accepting remuneration, in cash or in kind, directly or indirectly, to induce or reward any person

for purchasing, ordering, or recommending or arranging for the purchasing or ordering of

federally-funded medical goods or services:

             whoever knowingly and willfully offers or pays any remuneration
             (including any kickback, bribe, or rebate) directly or indirectly, overtly or
             covertly, in cash or in kind to any person to induce such person-

             (A) to refer an individual to a person for the furnishing or arranging for the
             furnishing of any item or service for which payment may be made in
             whole or in part under a Federal health care program, or

             (B) to purchase, lease, order, or arrange for or recommend purchasing,
             leasing, or ordering any good, facility, service, or item for which payment
             may be made in whole or in part under a Federal health care program,
             shall be guilty of a felony and upon conviction thereof, shall be fined not
             more than $25,000 or imprisoned for not more than five years, or both.

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               42 U.S.C. § 1320a-7b(b). Violation of the statute also can subject the
               perpetrator to exclusion from participation in federal health care programs
               and, effective August 6, 1997, civil monetary penalties of $50,000 per
               violation and three times the amount of remuneration paid. 42 U.S.C.
               § 1320a-7(b)(7) and 42 U.S.C. § 1320a-7a(a)(7).


                                            COUNT I
                                 FEDERAL FALSE CLAIMS ACT
                                    31 U.S.C. §§ 3729(A)(l)(A)

        168.      Relator re-alleges and incorporates by reference all of the preceding paragraphs of

this Complaint as if fully set forth herein.

        169.      At all relevant times to this Complaint, Defendants knowingly presented, or

caused to be presented, directly or in directly false and fraudulent claims for or approval to the

United States.

        170.      By virtue of the false or fraudulent claims presented or caused to be presented by

the Defendants, the United States suffered and is entitled to recover treble damages and a civil

penalty for each false claim.

                                           COUNT II
                                FEDERAL FALSE CLAIMS ACT
                                   31 U.S.C. §§ 3729(A)(l)(B)

        171.      Relator re-alleges and incorporates by reference all of the preceding paragraphs of

this Complaint as if fully set forth herein.

        172.     At all times relevant to this Complaint, defendants knowingly made, used, or

caused to be made or used, false records or statements material to false or fraudulent claims to

the United States and false records or statements to get false claims paid.

       173.      By virtue of the false or fraudulent claims presented by the Defendants, the

United States suffered damages and is entitled to recover treble damages and a civil penalty for

each false claim.


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                                        COUNT III
                               FEDERAL FALSE CLAIMS ACT
                                 31 U.S.C. §§ 3729(A)(l)(G)

        174.    Relater re-alleges and incorporates by reference all of the preceding paragraphs of

this Complaint as if fully set forth herein.

        175.    Defendants knowingly concealed or knowingly and improperly avoided or

decreased an obligation to pay or transmit money to the United States in violation of 31 U.S.C.

§ 3729(a)(l)(G).

                                     PRAYER FOR RELIEF

        WHEREFORE, Relater, on behalf of the United States, demands that judgment be

entered in her favor and against Defendants for the maximum amount of damages and such other

relief as the Court may deem appropriate on each Count. This includes, with respect to the

Federal False Claims Act, three times the amount of damages to the Federal Government plus

civil penalties of no more than Eleven Thousand Dollars ($11,000.00) and no less than Five

Thousand Five Hundred Dollars ($5,500.00) for each false claim, any other recoveries or relief

provided for under the Federal False Claims Act, and such other relief as the Court deems just

and appropriate.

       Further, Relator requests that she receive the maximum amount permitted by law of the

proceeds of this action or settlement of this action collected by the United States, plus reasonable

expenses necessarily incurred, and reasonable attorneys' fees and costs. Relator requests that her

award be based upon the total value recovered, both tangible and intangible, including any

amounts received from individuals or entities not parties to this action.




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Dated:                                  Respectfully submitted,



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         tASG        UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA,       )     CIVIL ACTION NO.      \\_\- ~    1-l
ex rel. [UNDER SEAL]            )
                                )
          Plaintiffs,           )
                                )
          v.                    )
                                )
[UNDER SEAL]                    )
                                )
          Defendants.           )



                            COMPLAINT

               CONFIDENTIAL - FILED UNDER SEAL



                                Susan SchneiderThomas (PA Bar#32799)
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                    IN THE\J~I~ED STATES DISTRlCT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA, ex rel.                             CIVIL ACTION NO.
I UNDER SEAL],

                              Plaintiffs,                    QUI TAM dJMPLAINT
                                                                               14           0824
                   V.                                        JURY TRIAL DEMANDED

[UNDER SEAL],                                                FILED IN CAMERA AND UNDER
                                                             SEAL PURSUANT TO 31 U.S.C.
                              Defendants.                    § 3730(b)(2)
